
436 S.E.2d 275 (1993)
112 N.C. App. 604
STATE of North Carolina
v.
Wayne Oscar WHITTED, Jr., Defendant.
No. 9212SC1237.
Court of Appeals of North Carolina.
November 16, 1993.
*276 Attorney General Michael F. Easley by Sp. Deputy Atty. Gen. Thomas D. Zweigart, Raleigh, for the State.
Larry J. McGlothlin, Fayetteville, for defendant appellant.
ARNOLD, Chief Judge.
Defendant apparently concedes that stopping the vehicle and patting down defendant for weapons was constitutionally permissible. He argues that the issue is whether or not feeling the pebble in defendant's pocket, combined with all the surrounding circumstances, gave the officer probable cause to search defendant. We believe probable cause existed.
The officer knew that the car in which defendant was a passenger fled at high speed from in front of a residence known for drug trafficking. In fact, several arrests recently had been made at this residence. The officer also knew that drug transactions were frequently made at curbside in this neighborhood. After the stop, defendant acted suspiciously by pushing something into his pocket and refusing to remove his hand after the officer asked him to do so. During the pat down for weapons, the officer felt a pebble in defendant's pocket. Based upon the surrounding circumstances, his experience, and his knowledge that the most common type of drug sold in that neighborhood was crack rather than powder cocaine, the officer believed that the pebble was crack cocaine.
Suspicious behavior and flight from officers are obvious factors which support a finding of probable cause to arrest or to search. State v. Mills, 104 N.C.App. 724, 729-30, 411 S.E.2d 193, 196 (1991). The nature of the area in which the arrest was made and the number of drug related arrests in that area may also be considered in the totality of the circumstances. Id. The circumstances in this case gave rise to probable cause to search defendant after the officer felt the pebble in defendant's pocket.
The trial judge's findings of fact were supported by evidence in the record, and his conclusions were properly drawn from those findings. The order denying defendant's motion to suppress is affirmed.
Affirmed.
WYNN and JOHN, JJ., concur.
